                Case 1:24-cv-05078-LMM                 Document 1-1             Filed 11/05/24           Page 1 of 2

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                                                    U.S. District Court

                                                 Georgia Northern~ Atlanta
                                                                                                       Receipt Date: Nov 5, 2024 2:06PM
LISA BRITTIAN


 Rcpt. No: 100015279                                     Trans. Date: Nov 5, 2024 2:06PM                                Cashier ID: #BC

 CD       Purpose                                Case/Party/Defendant                      Qty                 Price               Amt

 200      Civil Filing Fee- Non-Prisoner                                                    l                 405.00             405.00



 CD      Tender                                                                                                                    Amt

 cc      Credit Card                                                                                                           $405.00

                                                                         Total Due Prior to Payment:                           $405.00

                                                                                     Total Tendered:                           $405.00

                                                                                Total Cash Received:                              $0.00


                                                    7                          Cash Change Amount:                                $0.00



 When presenting a check as payment, you are authorizing the court to convert your payment to a one-time electronic funds transfer from
 your account. A $53.00 returned check fee will be assessed for any check payment returned as uncollected.
                         LMM 440 42:1981ra
JS44 (Rev.08/18)
                            Case 1:24-cv-05078-LMM                                            Document 1-1
                                                                                 CIVIL COVER SH*'J!                                          2 4 -CV- 5 0 7 8
                                                                                                                                Filed 11/05/24                        Page 2 of 2
The JS 44 civil cover sheet and the informa tion contained he rein neither replace nor supplement the filing and service of pleadings or other papers as req uired by law, except as
provided by local rules of court. T h is form , approved by the Judicial Conference of the United States in Se ptember 1974 , is required for the use of the C le rk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                     /
                                    ~tS/L
                                            ·
                                                          !?Jr,f!ran
        (b) County o f Res idence of F irst Listed Plaintiff
                                    (EXCEPT IN U.S. PLA INTIFF CASES)
                                                                          Ful-ftJrl                                    County of Residence of First Listed Defenda nt                 D_c /t.a.1b
                                                                                                                                                        (IN U.S. PLA INTIFF CASES ONll?
                                                                                                                       NOTE:       IN LA ND CON DEMNAT ION CASES, USE T HE LOCAT ION OF
                                                                                                                                   TH E TRACT OF LAND INVOLVED.

        (C)   Attorneys (Firm Name, Address, and Telephone N11mbe1)                                                     Attorneys (If K11ow11)


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                          CM~;/ IIM-{a/~ tf.,t 3a3&4-
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                                   (For Diversity Cases 01111 )                                           and One Box for Defendam)
0 1        U.S. Governmenl                )( 3      Federal Question                                                                           fJF        £\.EF I                                        PT F     oE F
              Plai ntiff                              (U.S. Govemme11t No t a Party)                         Citizen of This State             .I(! 1     A          Incorporated or Principal Place       O 4    O 4
                                                                                                                                                                       of Business In This State

0 2        U.S. Government                0 4       Diversity                                                Citizen of Another State          0 2         0     2   Incorporated and Principa l Place         0 5      0 5
              Defendanl                               (Indicate Citizenship of Parties in Item Ill)                                                                     of Business In Another State

                                                                                                             Citizen or Subject of a           0 3         0     3   Foreign Nation                            0 6     0 6
                                                                                                                Foreign Countrv
IV NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                           Click here for: 1'.iatuL     I S1          i, l
I              CONTRACT                                                TORTS                                     FORFEITURE/PE NALTY                        BANKR UPTCY                            OTHER ST A TUTES             I
    0   I IO Insurance                    PERSONAL INJU RY                    PERSONAL INJ URY               0 625 Drng Related Seizure            0 422 Appeal 28 USC 158                  0 375 False Claims Act
    0   120 Marine                      0 3 IO Airplane                     0 365 Personal Injury -                  of Property 2 I USC 88 1      0 423 Wi thdrawa l                       0 376 Qui Tam (31 USC
    0   130 Miller Ac t                 0 3 15 Ai rplane Product                    Product Liabi lity       0 690 Other                                       28 USC 157                            3729(a))
    0   140 Negotiable Instrument               Liability                   0 367 Hea lth Care/                                                                                             0   400 State Reapportionment
    0   150 Recovery of Overpayment 0 320 Assault, Libel &                         Pharn1aceutical                                                       PROPERTY RIGHTS                    0   4 10 Anti trust
             & Enforcement of Judgment          Slander                            Personal Injury                                                 0 820 Copyrights                         0   430 Banks and Banking
0       15 1 Medicare Act               0 330 Federal Emp loyers '                 Product Liability                                               0 830 Patent                             0   450 Commerce
0       152 Reco very of Defaulted              Liability                   0 368 Asbestos Personal                                                0 835 Patent - Abbreviated               0   460 Deportation
             Student Loans              0 340 Marine                                Injury Product                                                             New Drug Application         0   470 Racketeer Influenced and
             (Excludes Veterans)        0 345 Marine Product                       Liability                                                       0 840 Trademark                                   Corrupt Organizations
0       153 Recovery of Overpayment             Liability                    PERSONAL PROPERTY                             LABOR                        SOCIAL SECURITY                     0   480 Consumer Credit
            of Veteran ' s Benefits     0 350 Motor Vehicle                 0 3 70 Other Fraud               0 7 IO Fair Labor Standards           0    86 1 HIA ( l395ff)                  0   485 Telephone Consumer
0       160 Stockholders' Suits         0 355 Motor Vehicle                 0 371 Truth in Lending                   Act                           0    862 Black Lung (923)                         Protection Act
0       190 Other Contract                     Product Liability            0 380 Other Personal             0 720 Labor/Management                0    863 DIWC/D IWW (405(g))             0   490 Cable/Sat TV
0       195 Contract Product Liabi lity 0 360 Other Personal                       Property Damage                     Relations                   0    864 SSID Title XVI                  0   850 Securities/Commodities/
0       196 Franchise                          Inj ury                      0 385 Property Damage            0   740 Railway Labor Act             0    865 RS I (405(g))                            Exchange
                                        0 362 Personal Injury -                    Product Liability         0   75 1 Family and Medical                                                 0      890 Other Statutory Actions
                                               Medical Malpractice                                                     Leave Act                                                         0      891 Agricultural Acts
I            REAL PROPERTY                  CIVIL RIGHTS                     PRISONER PETITIONS              0   790 Other Labor Litigation              FEDERAL TAX SUITS               0      893 Environmental Matters
    0   2 10 Land Condemnation          ~ 440 Other Civil Rights              Habeas Corpus:                 0   79 I Employee Reti rement         0 870 Taxes (U.S. Plainti ff          0      895 Freedom of Information
    0   220 Foreclosure                   44 1 Voting                       0 463 Alien Detainee                      Income Security Ac t                     or Defendant)                         Act
    0   230 Rent Lease & Ejectment      0 442 Emp loyment                   0 5 IO Motions to Vacate                                               0 87 1 IRS- Third Party                  0   896 Arbitra tion
    0   240 Torts to Land               0 443 Housing/                             Sentence                                                                    26 USC 7609                  0   899 Administrative Procedure
    0   245 Tort Product Liability             Accommodati ons              0 530 General                                                                                                            Act/Review or Appea l of
    0   290 All Other Real Property     0 445 Amer. w/Disabil ities -       0 535 Death Penalty                      IMMJGRA TION                                                                    Agency Decision
                                               Employment                     Other:                         0 462 Natu ralization App lication                                             0   950 Consti tutionality of
                                        0 446 Amer. w/Disabi lities -       0 540 Mandamus & Other           0 465 Other Immigration                                                                 State Statutes
                                               Other                        0 550 Civil Ri ghts                      Actions
                                        0 448 Education                     0 555 Prison Condition
                                                                            0 560 Civil Detainee -
                                                                                   Conditions of
                                                                                   Confinement
V . 0 RI GIN (Place an "X" in One Box Only)
i:a I Orig ina l             O 2 R e m oved from                 0    3    Remanded from              0 4 Reinstated or          0 5 Transferred from                0 6 Multidistricl                0 8 Multidistrict
           Proceeding              State Cou rt                            Appellate Court                   Reopened                   Another District                     Litigation -                    Litigation -
                                                                                                                                        (specify)                            Trans fer                       Direct File
                                                Cite the U.S. Civi l Sta tu te under wh ich yo u are fil in g (Do 11 0 1 cite jurisdictio11al statutes unless diversity):

VI. CAUSE OF ACTION t=--:----::-:-7"""".'"-:--------- ------------------- -- - -
                                                Brief d escription of c ause:


Vil. REQUESTED IN     0 C H ECK IF T HI S IS A CLASS ACTI ON                                                     DEMAND$                                          C H EC K Y ES only if d e manded in complaint:
     COMPLAINT :         UNDER RULE 23, F .R.Cv. P .                                                                                                             J URY DEMAND:                   ~             □ No
VIII. RELATED CASE(S)
      IF ANY           (See instructiom) .
                                                                            JUDGE                                                                       DOC KET NUMBER
DATE                                                                           SIGNATURE OF ATTORN EY OF RECORD


    FOR OFFI CE USE ONLY

        RECEIPT #                   AMOUNT                                          APPL YING IFP                                      JUDGE                                   MAG . JUDGE
